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    MIDLAND CREDIT MANAGEMENT, INC.
  7
  8                               UNITED STATES DISTRICT COURT
  9                             CENTRAL DISTRICT OF CALIFORNIA
10                                         EASTERN DIVISION
11 BILL UZETA, an individual,                           Case No.
12                       Plaintiff,                     NOTICE OF REMOVAL OF
                                                        ACTION UNDER 28 U.S.C. § 1441(a)
13             v.
                                                        State Court Complaint filed 04/24/15
14 MIDLAND CREDIT MANAGEMENT
   INC., and DOES 1-10, inclusive,
15
              Defendants.
16
17             TO THE CLERK OF THE COURT:
18             PLEASE TAKE NOTICE that pursuant to 28 U.S.C. sections 1441(a) and
19 1331, Defendant Midland Credit Management, Inc. (“Defendant”) hereby removes
20 this action from the Superior Court of the State of California for the County of San
21 Bernardino, Case No. CIVDS1505870 (the “State Case”) to the United States
22 District Court for the Central District of California, Eastern Division. The grounds
23 for this removal are:
24             FACTUAL SUMMARY
25             1.        On April 24, 2015, plaintiff Bill Uzeta commenced the State Case
26 alleging violations of the federal Fair Debt Collection Practices Act (15 U.S.C. §
27 1692 et seq.), and the Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code
28 § 1788 et seq.).
      P:00965407:87025.142                           -1-
                              NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)
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  1            2.        Midland was served with the summons and complaint on May 29,
  2 2015.
  3            3.        This notice is therefore timely pursuant to 28 U.S.C. § 1446(b) because
  4 it is being filed within thirty days after service of the complaint.
  5            JURISDICTION
  6            4.        Removal is proper pursuant to 28 U.S.C. section 1441(a), which
  7 entitles a defendant to remove “any civil action brought in a State court of which the
  8 district courts of the United States have original jurisdiction,” and 28 U.S.C. section
  9 1331, which gives district courts “original jurisdiction of all civil actions arising
10 under the Constitution, laws, or treaties of the United States.” The district court has
11 supplemental jurisdiction over the alleged state law claim because it is so related to
12 the claim over which the district court has original jurisdiction that it “form[s] part
13 of the same case or controversy.” 28 U.S.C. § 1367(a).
14             5.        Pursuant to 28 U.S.C. section 1446(a), Midland attaches as Exhibit 1
15 and Exhibit 2 the copies of all process, pleadings, and orders in the State Court
16 action.
17
18 DATED: June 29, 2015                          SOLOMON WARD SEIDENWURM &
                                                 SMITH, LLP
19
20
21                                               By: s/Leah S. Strickland
22                                                   THOMAS F. LANDERS
                                                     LEAH S. STRICKLAND
23
                                                     Attorneys for Defendant
24                                                   MIDLAND CREDIT MANAGEMENT,
                                                     INC.
25
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  2                                                                                                              Pages
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  5 Exhibit 2:           State Court Answer ....................................................................... 6-12
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